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                    U.S. OFFICE OF SPECIAL COUNSEL




                            Report of Prohibited Personnel Practices
                          OSC File Nos. MA-12-4640 andMA-13-1126




                                                -
                        Investigation and Prosecution Division Attorney


                               Complaints Examining Unit Attorney




                                           September 16, 2013




By providing this report to the Department of Commerce {Commerce) for the sole purpose of aiding its detennination of
whether to take corrective or disciplinary action, the U.S. Office of Special Counsel (OSC) does not waive any
protections or ptivileges that may apply to infonmition disclosed in the report or lo the sources of that information. In
addition1 neither the report nor the infonnation contained herein may be disclosed to any individual not deemed essential
to the determination of whether to take corrective or disciplinaiy action, unless OSC consents in writing to such
disclosure. Specifically, it is requested that Commerce not disseminate any infonnation provided by OSC to the subject
officials of this investigation to potential witnesses in any future litigation that may arise should this matter not be
resolved [nfonnally. Moreover, if Commerce receives a Freedom ofinfo1mation Act (FOIA) request to which this report
is responsive, Commerce shall not release the repo1t to the requester, but rather promptly advise OSC of the FOIA
request and advise the FOIA requester that OSC wiU provide a reply with respect to the repott. Please contact OSC
immediately and return this report if Commerce objects in any way to these condhions. Questions regarding this
paragraph should be directed to OSC's Office of General Counsel at (202) 254                                        3600.
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